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IN THE UNITED S'I‘ATES DISTRICT COURT ED B """" D`C'
FOR THE WESTERN DISTRICT OF TENNESSEE USAUG f
WESTERN DIV'ISION _} FH 3: 30
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CLE. K. L[S Ff.-“~?T-fx-”T CQUR;

 

MI CHAEL LOVE ,
Plaintiff,
vs.

Civ. No. 04-2769-B[P

SHELBY COUNTY SHERIFF’S
DEPARTMENT,

Defendant.

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ORDER

 

This matter having come before the Court, upon motion of the
plaintiff for a forty-five (45) day extension of time to Designate
Expert Witness and All Other Remaining Deadlines to be continued
through their present date, and the Court being advised that there
is no opposition to said motion, the court finds that said motion
is Well-taken and should be granted.

IT IS THEREFORE, ORDERED that an extension of forty-five (45)
days is GRANTED as follows:

C.‘OMPLETING ALL DISCOVERY: NOvember 18, 2005

(a) DOCUMENT PRODUCTION: November 18, 2005

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: November 18, 2005

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with Rule 58 and/or 79{&) F

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(C) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
INFORMATION: September 14, 2005

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: OCtOber 15, 2005

(3) EXPERT WITNESS DEPOSITIONS: November 18, 2005
FILING DISPOSITIVE MOTIONS: December 15, 2005
All other dates, including the trial, shall remain the same.

IT IS SO ORDERED.

 

 

 

UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:04-CV-02769 Was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

